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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 0:19-CV-61272-RAR

 TELISHA J. OLIGE,

         Plaintiff,

 vs.

 CITY OF PLANTATION, and
 JORDAN WOODSIDE, individually and
 in his capacity as a City of Plantation
 Police Officer,

       Defendants.
 __________________________________/

                                     NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that LOURDES ESPINO WYDLER, ESQUIRE, of Marrero &

 Wydler, 2600 Douglas Road, PH-4, Coral Gables, Florida 33134, files this Notice of Appearance

 as counsel for Defendant, JORDAN WOODSIDE, and requests that copies of all future pleadings,

 etc., filed in this case be directed to her.

         I HEREBY CERTIFY that on this 7th day of June, 2019, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
 is being served this day on all counsel of record or pro se parties identified on the attached Service
 List in the manner specified, either via transmission of Notices of Electronic Filing generated by
 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
 to receive electronically Notices of Electronic Filing.

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                                                Coral Gables, FL 33134
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                                                BY __/s/ Lourdes Espino Wydler_____________
                                                      LOURDES ESPINO WYDLER
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